     Case 1:19-cv-08808-AT Document 164-2 Filed 10/06/22 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
GERARDO MOTA BAUTISTA, HUGO BAUTISTA,
JUAN LUIS OVANDO ZEPEDA, JUAN ZEPEDA,
JULIO RICARDO ALVAREZ MACATOMA,                                            19-CV-8808
LEONCIO TORRES ACUNA, MARIO MORALES
ROJAS, OMAR RODRIGUEZ, and ANTONIO                                    PLAINTIFF ANTONIO
LIMON HERNANDEZ                                                       LIMON HERNANDEZ
Individually and on behalf of others similarly,                          RESPONSES &
individually and on behalf of others similarly situated,                OBJECTIONS TO
                                                                     DEFENDANTS CARBEN
                                    Plaintiff,                         INDUSTRIES INC.,
                                                                      CARBEN CONCRETE
         -against-                                                       INC., CARBEN
                                                                     CONSTRUCTION INC.,
 COUNTY-WIDE MASONRY CORP., CARBEN                                   ANTHONY DERASMO,
 INDUSTRIES INC., CARBEN CONCRETE INC.,                              ANTHONY LOGIUDICE,
 CARBEN CONSTRUCTION INC., ANTHONY                                        and RONALD
 DERASMO, ANTHONY LOGIUDICE, RONALD                                  BROWNING’S SECOND
 BROWNING and MARTIN DOE a/k/a PERU,                                         SET OF
                       Defendants.                                    INTERROGATORIES

 ----------------------------------------------------------------X



        Plaintiff Antonio Limon Hernandez (“Plaintiff Limon”) by and through the undersigned
counsel, hereby responds to Defendants Carben Industries, Inc., Carben Concrete, Inc., Carben
Construction, Inc., Anthony LoGiudice, and Ronald Browning’s Second Set of Interrogatories
(“Requests”) in accordance with the following objections.

        The Responses herein reflect the knowledge of Plaintiffs as of the date of the Responses,
and Plaintiffs’ Responses involve an ongoing investigation into the Defendant’s Requests.
Plaintiffs’ responses are made subject to each of the General Objections, Comments and
Qualifications listed below, and such other objections as may be stated in the individual responses.
Plaintiff Limon reserves his right to amend or supplement these Responses pursuant to Federal
Rule 26(e)(1) as becomes necessary and appropriate.



                        Specific Responses & Objections to Interrogatories


        1.       With respect to the construction Project located at 120 Water Street, NY, NY as
referenced in your Complaint, state the name of the company who you believe employed you to provide
labor for this Project.
      Case 1:19-cv-08808-AT Document 164-2 Filed 10/06/22 Page 2 of 3




ANSWER: Countywide
        2.       With respect to the construction Project located at 70 Schemerhorn St., Brooklyn, NY, as
referenced in your Complaint, state the name of the company who you believe employed you to provide
labor for this Project.

ANSWER: Countywide

Dated: July 11, 2022
       New York, New York

                                                /s/
                                                Catalina Sojo
                                                CSM LEGAL, P.C.
                                                60 East 42nd Street, Suite 4510
                                                New York, New York 10165
                                                (212) 317-1200
                                                Attorneys for Plaintiffs




TO:

Matthew Lakind, Esq.
Tesser & Cohen
946 Main St.
Hackensack, NJ 07601
Ph: 201-343-1100
Email: mlakind@tesserochen.com
             Case 1:19-cv-08808-AT Document 164-2 Filed 10/06/22 Page 3 of 3



                                          VERIFICATION

        I,     NTONIO LI ON ERN N E , verify under penalty of perjury under the laws of the

United States of America and New York that the foregoing facts and statements within the responses

to the interrogatories directed to me are true and correct to the best of my knowledge.

                                                          By:
                                                                    NTONIO LI ON ERN N E
